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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
                                       )
v.                                     )            Case No. 13-40068-08-JAR
                                       )
OTIS DEAN PONDS,                       )
                                       )
                   Defendant.          )


                        MEMORANDUM AND ORDER

      This case comes before the court on defendant Otis Ponds’ motion (Doc.

160) for revocation of the magistrate’s order of detention, which this Court treats

as a motion under 18 U.S.C. § 3145(b) for review of the magistrate’s order. The

submission has been fully briefed (Docs. 160, 171) and is ripe for decision. The

court held an evidentiary hearing on October 28, 2013. Defendant’s motion is

denied and Magistrate Judge Kenneth G. Gale’s order of pretrial detention is

affirmed for the reasons herein.

I.    Facts and Procedural History

      The basis for Magistrate Judge Gale’s order of detention is set forth in his

order of July 11, 2013. (Doc. 90.) After the government requested a hearing and

invoked the presumption of detention found at 18 U.S.C. § 3142(e)(3), Magistrate
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Judge Gale heard and considered proffers of the parties as well as the pretrial

services report that recommended detention. Magistrate Judge Gale noted the

presumption of detention applied to the case, and he then found the defendant had

not successfully rebutted the presumption. Accordingly, he ordered the defendant

detained pending trial.

      The defendant asks this court to revoke the magistrate’s order. He concedes

that the presumption applies. Through counsel, however, the defendant has

submitted three new and different plans as to where he can live if released. In light

of these proposals, he argues that he has successfully rebutted the presumption and

that a combination of conditions of release can be set that would assure both his

appearance and the safety of the community. The government opposes the

defendant’s request for release pending trial.

II.   Analysis

      By statute,1 a defendant may seek review in the district court of a magistrate

judge's detention order. The district court conducts a de novo review of the

magistrate judge's order of detention.2 The district court must make an



      1 18 U.S.C. § 3145(b).

      2 United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).



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“independent determination of the proper pretrial detention or conditions for

release.”3

        While “de novo review does not require a de novo evidentiary hearing,” this

court gave defendant the opportunity to present evidence.4 Defendant chose not to

present evidence and instead defendant’s counsel made certain proffers which the

court has considered.

        The court turns now to a de novo review of detention under 18 U.S.C. §

3142.

               Under section 3142(e), upon a finding of probable cause that
        the defendant has committed a federal drug offense carrying a
        maximum prison term of ten years or more, a rebuttable presumption
        arises that no conditions of release will assure defendant's appearance
        and the safety of the community. Once the presumption is invoked,
        the burden of production shifts to the defendant. However, the burden
        of persuasion regarding risk-of-flight and danger to the community
        always remains with the government. The defendant's burden of
        production is not heavy, but some evidence must be produced. Even
        if a defendant's burden of production is met, the presumption remains
        a factor for consideration by the district court in determining whether
        to release or detain.5

        The defendant is charged with conspiracy to traffic crack cocaine and one


        3 Id. (citing United States v. Rueben, 974 F.2d 580, 585-86 (5th Cir. 1992)).

        4 United States v. Walters, 89 F. Supp.2d 1217, 1219-21 (D.Kan. 2000)(citing cases).

        5 United States v. Stricklin, 932 F.2d 1353, 1354-55 (10th Cir. 1991).



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substantive drug offense, with a potential sentence of ten years or more. The

indictment is sufficient to establish probable cause.6 The burden now shifts to

defendant to rebut the presumption created by the drug charge. “The burden of

production imposed on a defendant is to offer some credible evidence contrary to

the statutory presumption.”7

       The court has carefully considered the three release plans proffered by the

defendant, as well as each of the factors set forth in 18 U.S.C. § 3142(g). For the

reasons stated on the record at the hearing on this matter, which are fully

incorporated by reference herein, the court finds that none of the proffered release

plans present an acceptable situation for a defendant involved in this significant a

drug trafficking organization, facing this substantial a sentence, and with a criminal

history as lengthy and as egregious as this defendant’s. Accordingly, the defendant

has failed to rebut the presumption of detention that applies in this case.

III.   Conclusion

       Based upon the evidence presented before the magistrate and upon de novo

review, the court concludes that no set of conditions of release will assure either



       6 Id., 932 F.2d at 1355.

       7 United States v. Miller, 625 F. Supp. 513, 519 (D. Kan. 1985).


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the presence of the defendant or the safety of the community. This court affirms

the order of Magistrate Judge Gale, and the defendant shall be detained pending

trial.

         IT IS SO ORDERED.

         Dated October 30, 2013, at Topeka, Kansas.



                                               s/ Julie A. Robinson
                                              Honorable Julie A. Robinson
                                              United States District Judge




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